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                      EXHIBIT A
                                      Case 2:17-cv-08868-GW-E Document 47-1 Filed 05/29/18 Page 2 of 4 Page ID #:616



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F ENWICK & W ES T LLP




                                       13
                        LAW
                         AT




                                                                UNITED STATES DISTRICT COURT
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                                       14
                                       15                      CENTRAL DISTRICT OF CALIFORNIA
                                       16                     (WESTERN DIVISION - LOS ANGELES)
                                       17 ERIC WEBER and BRYAN REES,                 Case No.: 2:17-cv-08868-GW(Ex)
                                       18            Plaintiffs,                     DEFENDANTS’ RESPONSE TO
                                                                                     PLAINTIFF’S SURREPLY IN
                                       19         v.                                 OPPOSITION TO MOTION TO
                                                                                     COMPEL ARBITRATION AND
                                       20 AMAZON.COM, INC., and AMAZON               DISMISS CLAIMS
                                          SERVICES LLC,
                                       21                                            Judge:      George H. Wu
                                                     Defendants.                     Trial Date: NONE SET
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                                       25
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                                       27
                                       28    RESPONSE TO PLAINTIFF’S
                                             SURREPLY RE: MOTION TO
                                             COMPEL ARBITRATION                          Case No. 2:17-cv-8868 GW(Ex)
                                      Case 2:17-cv-08868-GW-E Document 47-1 Filed 05/29/18 Page 3 of 4 Page ID #:617



                                        1         Plaintiff Eric Weber argues for the first time on surreply that even if he
                                        2 assented to Amazon’s arbitration provision after acknowledging that Amazon’s
                                        3 terms had changed, he should not be held to the terms of his agreements because it
                                        4 would somehow be “unfair” to enforce agreements he entered into after signing up
                                        5 for Amazon Prime. Plaintiff’s new and untimely argument contradicts his earlier
                                        6 statements, rests on false factual assumptions, and fails to provide a basis to
                                        7 invalidate his repeated agreements with Amazon.
                                        8         First, there is in fact no conflict between Plaintiff’s enjoyment of Prime
                                        9 benefits and his agreement to arbitrate when making purchases from Amazon.
                                       10 Amazon Prime comes with many benefits including free video and music
                                       11 streaming, online photo storage, special deals and discounts, and many other
                                       12 services. It also provides free two-day shipping from certain—but not all vendors.
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                                       13 After Mr. Weber acknowledged the change in Amazon’s terms on March 7, 2018,
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                                       14 several of the subsequent purchases he made were from vendors that were not
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                                       15 Prime-eligible. 1 This means he was not using any Amazon Prime benefit when he
                                       16 made those purchases and assented to Amazon’s terms. Accordingly, Mr. Weber’s
                                       17 assent to the arbitration agreement on those dates was unrelated to his Prime
                                       18 membership or benefits. 2
                                       19         Second, Plaintiffs’ new argument directly contradicts his earlier
                                       20 representations in opposition to this very motion. In his original opposition to
                                       21 Amazon’s motion to compel arbitration, Plaintiff claimed that “he had no reason to
                                       22 and did not intentionally sign up for a new Amazon Prime membership.” Dkt. 30-1
                                       23
                                       24
                                            1
                                              These purchases were made on March 9, 13, and 14, and April 1, 2018—
                                            purchases reflected in the parties’ stipulation (Dkt. 39, Ex. O). If the Court is
                                       25   inclined to consider Plaintiff’s late argument, Amazon is prepared to provide a
                                            declaration confirming that these purchases were not Amazon Prime purchases.
                                       26   2
                                              Moreover, Amazon Prime terms include an arbitration provision, and incorporate
                                            by reference the Amazon Conditions of Use that Mr. Weber accepted repeatedly.
                                       27   See https://www.amazon.com/gp/help/customer/display.html?nodeId=13819201
                                       28   (last updated October 31, 2017).
                                              RESPONSE TO PLAINTIFF’S
                                              SURREPLY RE: MOTION TO
                                              COMPEL ARBITRATION                        1        Case No. 2:17-cv-8868-GW(Ex)
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                                        1 at ¶ 5. He specifically claimed that he already enjoyed all benefits of an Amazon
                                        2 Prime membership by using his sister’s household Amazon Prime membership. Id.
                                        3 He repeated this denial in his May 11, 2018 supplemental declaration. Dkt. 44-2 at
                                        4 ¶ 4. Yet after renouncing any such membership, he now argues that he would
                                        5 “unfair[ly]” be deprived of the benefits of his Prime membership.” Plaintiff can’t
                                        6 have it both ways. If he claims that he never signed up for Prime and has no need
                                        7 for it, he cannot claim it is somehow inequitable simply to hold him to the terms of
                                        8 agreements he accepted when making standard Amazon purchases. If Plaintiff
                                        9 contends that he did not sign up for Prime, he can request a refund in an arbitration.
                                       10         Finally, Plaintiff’s new argument on surreply has no impact on the
                                       11 supplemental briefing that the Court ordered. Plaintiff’s surreply does not relate to
                                       12 the Douglas issue, and Plaintiff acknowledges that his new argument does not
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                                       13 diminish the relevance of any instances where Mr. Weber may have assented to
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                                       14 Amazon’s terms before October 26, 2017. Dkt. 46-1 at 2. Because Mr. Weber
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                                       15 already agreed to the arbitration provision through each and every of the many
                                       16 purchases he made after August 2011 (using both the Amazon desktop purchase
                                       17 flow and mobile purchase flow), Plaintiff’s new argument is largely irrelevant. If
                                       18 the Court holds that any of Mr. Weber’s many purchases after August 19, 2011 and
                                       19 prior to October 26, 2017 constituted assent to Amazon’s terms, then such assent
                                       20 was provided prior to signing up for Amazon Prime, and no conflict exists.
                                       21         For the reasons stated above, the Court should enforce Mr. Weber’s
                                       22 arbitration agreement with Amazon, whether entered into via purchases made
                                       23 before or after signing up for Amazon Prime.
                                       24 Dated: May 29, 2018                     FENWICK & WEST LLP
                                       25                                         By: /s/ Jedediah Wakefield
                                                                                     Jedediah Wakefield
                                       26
                                                                                  Attorneys for Defendants AMAZON.COM,
                                       27                                         INC. and AMAZON SERVICES LLC
                                       28
                                             RESPONSE TO PLAINTIFF’S
                                             SURREPLY RE: MOTION TO
                                             COMPEL ARBITRATION                     2          Case No. 2:17-cv-8868-GW(Ex)
